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AOI (Rev. 12/09) Bill of Costs

UNITED STATES DISTRICT COURT

for the

Northern District of Illinois

Geraldine Lynette Webb
v. } Case No.: 15 C 10355
Experian Information Services, Inc. )
)
BILL OF COSTS
Judgment having been entered in the above entitled action on 03/16/2017 against __ Plaintiff ’
the Clerk is requested to tax the following as costs: eae
Fees of the Clerk 0... 0. cece ee eee eterna eee ee nee tense eenenaas $
Fees for service of summons and subpoena ........... 0c cece cece cee eee renee eeeeenegs
Fees for printed or electronically recorded transcripts necessarily obtained for use in the case... ... 755.85
Fees and disbursements for printing ......... 00. ccc ccc eee eect ee cence enna teeneenens
Fees for witnesses fitemize om page wo) oo eect eee tener ees eueeeneeueenneenes 0.00
Fees for exemplification and the costs of making copies of any materials where the copies are
necessarily obtained for use in the caS€.. 0.2... cece ec eeee ence een eneeneess
Docket fees under 28 U.S.C. 1923 20.0... ccc cece ccc cece een ener ete ee eeeeseenneege
Costs as shown on Mandate of Court of Appeals ........ 0.0.0 cece cece e eee eee eeteeenees
Compensation of court-appointed experts 0.0.0... .0- ccc ree eee cette enter eenreaeees
Compensation of interpreters and costs of special interpretation services under 28 U.S.C, 1828 .....
Other costs (please itemize) 0... cc nee cence ene b seb be beans ueubbeeseueauunnas
TOTAL $ 755.85

SPECIAL NOTE: Attach to your bill an itemization and documentation for requested costs in all categories.

 

Declaration

t declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the
services for which fees have been charged were actually and necessarily performed, A copy of this bill has been served on all parties
in the following manner:

Electronic service [] First class mail, postage prepaid
[ ] Other:
si Attorney: fa) a

Name of Attorney: Jason Z. Zhou

For: _ Defendant Experian Information Solutions, Inc. Date: 03/27/2017
Name of Claiming Party

 

Taxation of Costs

Costs are taxed in the amount of _ _ _ and included in the judgment.

By:
Clerk of Court Deputy Clerk Date
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UNITED STATES DISTRICT COURT

 

Witness Fees (computation, cf. 28 U.S.C. 1821 for statutory fees)

 

ATTENDANCE SUBSISTENCE MILEAGE
Total Cost

NAME . CITY AND STATE OF RESIDENCE Total Total Total Each Witness
Davs Cost Days Cost Miles Cost

 

$0.00

$0.00

$0.00

$0.00

$0.00

$0.00

 

 

 

 

 

TOTAL $0.00

 

 

 

 

 

NOTICE

Section 1924, Title 28, U.S, Code (effective September 1, 1948) provides:
“Sec. 1924. Verification of bill of costs.”

“Before any bili of costs is taxed, the parly claiming any item of cost or disbursement shall attach thereto an affidavit, made by himself or by
his duly authorized attorney or agent having knowledge of the facts, that such item is correct and has been necessarily incurred in the case and
that the services for which fees have been charged were actually and necessarily performed.”

See also Section 1920 of Title 28, which reads in purt as follows:
*A bill of costs shall be filed in the case and, upon allowance, included in the judgment or decree.”

The Federal! Rules of Civil Procedure contain the following provisions:
RULE 54(d\(1)

Costs Other than Attorneys’ Fees.

Unless a federal statute, these rules, or a court order provides otherwise, costs — other than attarmey's fees — should be allowed to the
prevailing party. But costs against the United States, its officers, and its agencies may be imposed only to the extent allowed by law. The clerk
may tax costs on 14 day's notice. On motion served within the next 7 days, the court may review the clerk's action.

RULE 6
(d) Additional Time After Certain Kinds of Service.
When a party may or must act within a specified time afer service and service is made under Rule5(b)(2)(C), (D), CE), or (F), 3 days are
added after the period would otherwise expire under Rule 6{a).
RULE 58(e)
Cost or Fee Awards:

Ordinarily, the entry of judgment may not be delayed, nor the time for appeal extended, in order to tax costs or award fees. But ifa
timely motion for attorney's fees is made under Rule 54(d)(2), the court may act before a notice of appeal has been filed and become
effective to order that the motion have the same effect under Federal Rule of Appellate Procedure 4(a)(4) as a timely motion under Rule 59.

 

 
